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                                      EXHIBIT A




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE




MATTRESS FIRM, INC., et al.1                                       Case No. 18-12241 (CSS)

                      Debtors.                                     (Jointly Administered)




                               DECLARATION OF DISINTERESTEDNESS

I, Neil J. McNabnay, do hereby declare under penalty of perjury:

1.       I am a principal of Fish & Richardson P.C., located at 1717 Main Street, Suite 5000, Dallas,

TX 75201 (the “Firm”).

2.       This declaration (this “Declaration”) is submitted in accordance with that certain Order

Authorizing the Debtors to Retain and Compensate Certain Professionals Utilized in the Ordinary

Course of Business, Nunc Pro Tunc to the Petition Date [Docket No. 772] (the “OCP Order”). All

capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the

OCP Order.

3.       Mattress Firm, Inc. and its affiliated debtors and debtors in possession (collectively, the

“Debtors”), have requested that the Firm provide legal services to the Debtors, and the Firm has agreed

to provide such services.

4.       The Firm may have performed services in the past, may currently perform services, and may

perform services in the future, in matters unrelated to the above-captioned chapter 11 cases for

persons that are parties in interest in the chapter 11 cases. The Firm does not perform services for



1
  The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing address is
10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11 cases, which are
being jointly administered, a complete list of the Debtors and the last four digits of their federal tax identification
numbers is not provided herein. This information may be obtained on the website of the Debtors’ noticing and claims
agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
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any such person in connection with the chapter 11 cases or have any relationship with any such person, their

attorneys, or accountants that would be materially adverse to the Debtors or their estates.

5.      As part of its customary practice, the Firm is retained in cases, proceedings, and transactions

involving many different parties, some of whom may represent or be retained by the Debtors,

claimants, and parties in interest in the chapter 11 cases.

6.      Neither I nor any principal, partner, director, or officer of, or professional employed by, the

Firm has agreed to share, or will share, any portion of the compensation to be received from the

Debtors with any other person other than the principal and regular employees of the Firm.

7.      Neither I nor any principal, partner, director, or officer of, or professional employed by, the

Firm, insofar as I have been able to ascertain, holds, or represents any interest materially adverse to

the Debtors or their estates with respect to the matter(s) upon which this Firm is to be retained.

8.      The Debtors owe the Firm $16,537.65 for prepetition services, the payment of which is

subject to limitations contained in title 11 of the Bankruptcy Code, 11 U.S.C. §§ 101–1532.

9.      As of the Petition Date, the Firm was not party to an agreement for indemnification with

certain of the Debtors.

10.     The Firm has read the OCP Order and understands the limitations on compensation and

reimbursement of expenses under the OCP Order. Specifically, the Firm understands that in the event

that it exceeds the applicable OCP Cap, the Firm will be required to file with the Court a fee

application for the amount of its fees and expenses in excess of the applicable OCP Cap in accordance

with sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any applicable

orders of the Court.




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11.    The Firm is conducting further inquiries regarding its retention by any creditors of the Debtors

and, upon the conclusion of such inquiry, or at any time during the period of its retention, if the Firm

should discover any facts bearing on the matters described herein, the Firm will supplement the

information contained in this Declaration.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on November 16, 2018




                                                 By:
                                                        Neil J. McNabnay




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